       DISTRICT COURT OF APPEAL OF THE STATE OF FLORIDA
                              FOURTH DISTRICT

  LESLIE ANNE MOORE, Personal Representative of the ESTATE OF
             WINSTON ALEXANDER MOORE, JR.,
                         Appellant,

                                    v.

GALLAGHER 4, LLC, d/b/a GALLAGHER GROUP HOME #4, PBS, INC.
  COMMUNITY RESIDENTIAL HOMES, and SHIRLEY GALLAGHER,
        Individually, and ADVOCATES IN MOTION, P.A.,
                            Appellees.

                           No. 4D2023-0620

                           [August 22, 2024]

   Appeal from the Circuit Court for the Seventeenth Judicial Circuit,
Broward County; Jeffrey R. Levenson, Judge; L.T. Case No. CACE17-
009287.

  Jordan A. Dulcie of Searcy Denney Scarola Barnhart &amp; Shipley, P.A.,
West Palm Beach, and Nichole J. Segal of Burlington &amp; Rockenbach, P.A.,
West Palm Beach, for appellant.

  Therese A. Savona of Cole, Scott &amp; Kissane, P.A., Orlando, for appellees.

PER CURIAM.

  Affirmed.

GERBER, CONNER and KUNTZ, JJ., concur.

                          *          *          *

    Not final until disposition of timely filed motion for rehearing.
